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         IN THE UNITED STATES COURT OF APPEALS
          FOR THE DISTRICT OF COLUMBIA CIRCUIT
_________________________________________
                                          )
TIKTOK INC.,                              )
                                          )
and                                       )
                                          )
BYTEDANCE LTD.,                           )
                                          )
                           Petitioners,   )
                                          )
     v.                                   ) No. 24-1113
                                          )
MERRICK B. GARLAND, in his official       )
capacity as Attorney                      )
General of the United States,             )
                                          )
                           Respondent.    )
                                          )
                                          )
BRIAN FIREBAUGH, CHLOE JOY                )
SEXTON, TALIA CADET, TIMOTHY              )
MARTIN, KIERA SPANN, PAUL TRAN,           )
CHRISTOPHER TOWNSEND,                     )
and STEVEN KING,                          )
                                          )
                           Petitioners,   )
                                          )
     v.                                   ) No. 24-1130
                                          )
MERRICK B. GARLAND, in his official       )
capacity as Attorney                      )
General of the United States,             )
                                          )
                           Respondent.    )
                                          )
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                                            )
BASED POLITICS INC.,                        )
                                            )
                            Petitioner,     )
                                            )
     v.                                     )      No. 24-1183
                                            )
MERRICK GARLAND, in his official            )
capacity as Attorney General of the         )
United States,                              )
                                            )
                            Respondent.     )
                                            )


      JOINT MOTION TO CONSOLIDATE CASES, ADOPT A
       MODIFIED BRIEFING SCHEDULE, AND EXPEDITE
             CONSIDERATION OF THIS MOTION

     This motion is filed jointly by the petitioners in TikTok Inc. v

Garland, No. 24-1113 (“TikTok Petitioners”), the petitioners in

Firebaugh v. Garland, No. 24-1130 (“Creator Petitioners”), the petitioner

in BASED Politics Inc. v. Garland, No. 24-1183 (“BASED Politics”)

(collectively, “Petitioners”), and Respondent Merrick B. Garland. The

parties respectfully ask the Court to consolidate BASED Politics Inc. v.

Garland, No. 24-1183, with the previously consolidated TikTok Inc. v

Garland, No. 24-1113, and Firebaugh v. Garland, No. 24-1130, and to

adopt a modified briefing schedule to account for BASED Politics’s briefs


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in the consolidated case. In order for BASED Politics to have a sufficient

amount of time to prepare its brief in advance of the parties’ proposed

deadline of June 27, 2024, the parties also respectfully request that the

Court expedite consideration of the present motion and resolve it by June

21, 2024.

     A.     Consolidation

     The Court has previously consolidated two cases presenting

challenges to the constitutionality of the Protecting Americans from

Foreign Adversary Controlled Applications Act (H.R. 815, div. H, 118th

Cong., Pub. L. No. 118-50 (April 24, 2024)). It would be efficient and

appropriate for BASED Politics Inc. v. Garland, No. 24-1183, which

challenges the same law, to be consolidated with those cases.

     B.     Briefing Schedule

     All parties agree that the existing schedule for briefing and

argument is appropriate and should be maintained, and be modified to

account for the participation of BASED Politics without delaying the

proceedings.

     BASED Politics is prepared to file an opening brief on June 27,

2024, one week after the briefs of the TikTok Petitioners and the Creator


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Petitioners, and on the same schedule as amicus briefs in support of

Petitioners or neither party. BASED Politics also intends to incorporate

by reference, as appropriate, arguments made by the TikTok Petitioners

and/or Creator Petitioners. It proposes a word limit of 6,500 words for its

opening brief. BASED Politics further proposes to file a reply brief on

the same schedule as the TikTok Petitioners and Creator Petitioners,

with a word limit of 3,250 words. Respondent consents to the timing and

word limit for the BASED Politics briefs. Respondent does not at this

time request any expansion of the word limit for the government’s brief,

but reserves the right to seek such relief after reviewing the Petitioners’

opening briefs.

     Accordingly, the parties respectfully request that the Court modify

the existing briefing schedule as follows (additions to the existing

schedule in bold):

     Brief of TikTok Petitioners                         June 20, 2024
     (not to exceed 13,000 words)

     Brief of Creator Petitioners                        June 20, 2024
     (not to exceed 13,000 words)

     Brief of BASED Politics                             June 27, 2024
     (not to exceed 6,500 words)



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     Briefs of Amici Supporting Petitioners              June 27, 2024
     or Supporting Neither Party, if any
     (not to exceed 6,500 words)

     Brief of Respondent                                 July 26, 2024
     (not to exceed 19,500 words)

     Briefs of Amici Supporting Respondent, if any       August 2, 2024
     (not to exceed 6,500 words)

     Reply Brief of TikTok Petitioners                   August 15, 2024
     (not to exceed 6,500 words)

     Reply Brief of Creator Petitioners                  August 15, 2024
     (not to exceed 6,500 words)

     Reply Brief of BASED Politics                       August 15, 2024
     (not to exceed 3,250 words)




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DATED: June 17, 2024                    Respectfully submitted,

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                   CERTIFICATE OF COMPLIANCE

      This motion complies with the type-volume limitation of Federal

Rule of Appellate Procedure 27(d)(2)(A) because it contains 540 words,

excluding the parts of the motion exempted by Federal Rule of Appellate

Procedure 32(f).

      This motion complies with the typeface requirements of Federal

Rule of Appellate Procedure 32(a)(5) and the type style requirements of

Federal Rule of Appellate Procedure 32(a)(6) because it has been

prepared in a proportionally spaced typeface using Microsoft Word in 14-

point, Century Schoolbook font.



DATED: June 17, 2024                   Respectfully submitted,

                                        /s/ Alexander A. Berengaut
                                       Alexander A. Berengaut

                                       Attorney for TikTok Petitioners




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                      CERTIFICATE OF SERVICE

        I hereby certify that I electronically filed the foregoing with the

Clerk of the Court for the United States Court of Appeals for the District

of Columbia Circuit by using the appellate CM/ECF system on June 17,

2024.

        I certify that all participants in the case are registered CM/ECF

users and that service will be accomplished by the appellate CM/ECF

system.



DATED: June 17, 2024                   Respectfully submitted,

                                        /s/ Alexander A. Berengaut
                                       Alexander A. Berengaut

                                       Attorney for TikTok Petitioners




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